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 1                                                       THE HONORABLE JAMES L. ROBART

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 5
                                    UNITED STATES DISTRICT COURT
 6                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 7
      AUBRY MCMAHON,
 8                                                        Case No.: 2:21-cv-00920-JLR
                      Plaintiff,
 9                                                        JOINT STATEMENT OF THE
             v.                                           PARTIES ON NEXT ROUND OF
10                                                        SUMMARY JUDGMENT BRIEFING
      WORLD VISION, INC.,                                 AND STIPULAT,21$1'
11                                                        >352326('@25'(55(       JLR
                      Defendant.                          BRIEFINGSCHEDULE
12
                                                          Note On Motion Calendar: August 21,
13                                                        2023

14           Pursuant to the Court’s order of August 14, 2023, the parties conferred on August 17, 2023,

15    about a proposed briefing schedule. Counsel for both parties have pre-existing work and non-work

16    commitments between now and mid-September. For example, Plaintiff’s counsel, Michael Subit,

17    will be unavailable for nearly one-third of working days through September 15 due to mediations

18    and collective bargaining that cannot be rescheduled. Taking those constraints into account, the

19    parties propose the following due dates:

20           Opening Briefs: Friday September 22

21           Response Briefs: Friday October 13

22           Reply Briefs: Friday October 20

23

24   STIPULATION $1'25'(5ON
     MSJ BRIEFING
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 2           RESPECTFULLY SUBMITTED this 21st day of August 2023.

 3     Attorneys for Plaintiff:                          Attorneys for Defendant:

 4     FRANK FREED SUBIT & THOMAS LLP                    GAMMON & GRANGE, P.C.

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10
       By: /s/ Casimir Wolnowski                         By: /s/ Nathaniel L. Taylor
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       Admitted Pro Hac Vice                             Email: asthilaire@elmlaw.com
15

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17
                                                   ORDER
18
      IT IS SO ORDERED.$GGLWLRQDOO\WKHZRUGOLPLWVVHWIRUWKLQWKHFRXUW V$SULO
19    RUGHU 'NW VKDOOUHPDLQLQHIIHFWZLWKUHVSHFWWRWKHSDUWLHV UHQHZHGFURVVPRWLRQV
      IRUVXPPDU\MXGJPHQW
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                                                               A
                  21st day of August 2023.
      DATED this ______
21

22                                                          The Honorable James L. Robart
                                                            United States District Court Judge
23

24   STIPULATION $1'25'(5ON
     MSJ BRIEFING
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